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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

SAMUEL RORIE;                                  )
JUSTIN BAKER                                   )
                                               )
                                               )
                                               )
                       Plaintiffs,             )
v.                                             )      Case. No. 5:20-cv-5106-TLB
                                               )
WSP2, LLC;                                     )
JOSEPH CLAYTON SUTTLE                          )
                                               )
                       Defendants.             )


                       RESPONSE IN OPPOSITION TO MOTION FOR
                    CONDITIONAL COLLECTIVE ACTION CERTIFICATION

       Defendants come before this Court and for their Response in Opposition to the Plaintiffs’

Motion for Conditional Collective Action Certification state:

                                     I.      INTRODUCTION

       Samuel Rorie and Justin Baker filed this action individually, and as a presumptive

Collective Action under the Fair Labor Standards Act and the Arkansas Minimum Wage Act. They

have moved for Conditional Certification. At issue is whether the Plaintiffs have sufficiently

evidenced that other employees may want to join this action.          Because neither of them has

provided facts or admissible evidence that any other person is interested in joining this action, the

Plaintiffs have not met their lenient burden warranting conditional certification. The Court should

deny the request to send notice to all persons who worked as servers for the Defendants at any

time during the three-year period preceding this case.

       This Court should also take this opportunity to review the facts of the allegations related

to tip pooling, and recognizing that the practices complained of are permitted by 29 U.S.C. §

203(m)(2), not permit any notice to any putative plaintiff to reference any allegation of unlawful tip
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pooling. That allegation is without legal basis, and while it does not constitute a separate cause

of action within the Plaintiffs’ Complaint, it should not be regarded as having any merit.

         Finally, the Court should deny any attempt by the Plaintiffs to include any employees of

any other entity not named in this action – which by the Plaintiffs’ reference to the “downtown”

Woodstone Pizza location – they appear to desire. Those employees should not be notified of

this action should the Court approve conditional certification of the employees of WSP2, LLC.

Instead, only those employees working for WSP2, LLC should be notified, subject to the

objections stated below, in the instance the Court conditionally certifies this action and orders any

notice be sent.

                                 II.     ARGUMENT AND ANALYSIS

    A.        Legal Standard

         29 U.S.C. section 216 (b) provides, in relevant part:

                  An action to recover the liability prescribed . . . may be maintained
                  against any employer (including a public agency) in any Federal or
                  State court of competent jurisdiction by any one or more employees
                  for and in behalf of himself or themselves and other employees
                  similarly situated. No employee shall be a party plaintiff to any such
                  action unless he gives his consent in writing to become such a party
                  and such consent is filed in the court in which such action is brought.

         The Fair Labor Standards Act provides that an employee may bring an action for herself

and other employees “similarly situated.” Kautsch v. Premier Communications, 504 F. Supp. 2d

685, 688 (W.D. Mo. 2007) (citing 29 U.S.C. § 216(b)). In these actions, Courts have the discretion,

in appropriate cases, to issue orders authorizing notice to potential members of the collective

action of the opportunity to “opt-in” to the action. Hoffman-La Roche Inc. v. Spering, 493 U.S. 165,

169 (1989).

         “Though the Eighth Circuit Court of Appeals has not indicated which standard should be

used to determine whether potential opt-in plaintiffs are ‘similarly situated,’ a majority of the district

courts in the Eighth Circuit use the two-step analysis adopted in Mooney v. Aramco Services Co.,

54 F.3d 1207 (5th Cir.1995).” Id. (citing Davis v. Novastar Mortgage, Inc., 408 F. Supp.2d 811,

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815 (W.D. Mo. 2005); Kalish v. High Tech Institute, Inc., 2005 WL 1073645 (D. Minn. 2005);

Dietrich v. Liberty Square L.L.C., 230 F.R.D. 574 (N.D. Iowa 2005); McQuay v. American Int'l

Group, Inc., 2002 WL 31475212 (E.D. Ark. 2002)); see also Knaak v. Armour-Eckrich Meats, LLC,

991 F. Supp.2d 1052, 1058 (D. Minn. 2014); Resendiz-Ramirez v. P & H Forestry, LLC, 515 F.

Supp. 2d 937, 940, (W.D. Ark. 2007) (applying the two-step process).

       “To determine whether employees are similarly situated, a district court considers several

factors, including the following: (1) whether the plaintiffs hold the same job title; (2) whether they

worked in the same geographic location; (3) whether the alleged violations occurred during the

same time period; (4) whether the plaintiffs were subjected to the same policies and practices;

and (5) the extent to which the acts constituting the alleged violations are similar.” Wheeler v.

Baxter Healthcare Corp., 2011 WL 5402446, No. 4:11CV00263 (E.D. Ar. Nov. 8, 2011), citing

Stone v. First Union Corp., 203 F.R.D. 532, 542-43 (S.D. Fla. 2001). Plaintiffs can satisfy their

burden by presenting detailed allegations supported by affidavits, but they "may not meet this

burden through unsupported assertions of additional plaintiffs and widespread FLSA violations.'"

Butcher v. Delta Memorial Hospital, 2013 WL 1668998 at *2, No. 5:12CV000241 SWW, (E.D. Ark.

April 17, 2013) (quoting Littlefield v. Dealer Warranty Servs., LLC, 679 F. Supp. 2d 1014, 1017

(E.D. Mo. 2010) (citation omitted)).

       While the merits of the Plaintiff’s claims are not considered [at this stage], Plaintiffs meet

their burden “by making a modest factual showing sufficient to demonstrate that they and potential

plaintiffs together were victims of a common policy or plan that violated the law.” (emphasis

added), Wheeler at *2 (quoting Kautsch, 504 F. Supp.2d at 689)(citing Realite v. Ark Restaurants

Corp., 7 F. Supp.2d 303, 306 (S.D. N.Y. 1998); Davis, 408 F. Supp.2d at 815). “The plaintiffs can

satisfy their burden through the use of affidavits, supported by admissible evidence.” Id. (quoting

Jost v. Commonwealth Land Title Ins. Co., No. 4:08CV734, 2009 WL 211943, at *2-3 (E.D. Mo.

Jan. 27, 2009)).



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    B.       The Plaintiffs’ Motion fails to Include Admissible Evidence that Others Desire
             to Opt In.

         As this Court recognized in Harrison v. Hog Taxi, LLC et al (5:19-cv-05025, Doc. 41 at 7,

WD Ark. Sept. 10, 2019), “district courts in the Eighth Circuit and elsewhere are split as to whether

plaintiffs must affirmatively demonstrate” interest of other potential plaintiffs in participating in the

action. Id. In Hog Taxi, this Court found that evidence of interest may not be necessary as it could

cause Plaintiffs to solicit employees or their attorneys to prepare informal notices in an

unsupervised and potentially misleading fashion. Id.

         But that risk has already been undertaken by these Plaintiffs. As each Plaintiff indicates

in his affidavit “[b]ased on my…conversations with other servers for Defendants, I believe that at

least some other servers would be interested in participating in this lawsuit.” See Doc. 27-7 at ¶

21, 27-8 at ¶ 22. Given that solicitation to join this action has already occurred, the idea of

providing a “fair notice” to those potentially affected by the Defendants practices has already been

disrupted. Would it not be logical to assume that since such conversations have occurred that

those interested would have already notified the Court (or Plaintiffs’ Counsel) of his or her interest

in the case? Is it also not fair to acknowledge that any communication between Plaintiffs’ Counsel

and these prospective clients would be governed by the appropriate rules of professional conduct

related to client solicitation? For these reasons, the Defendants ask this Court reconsider its

position in Hog Taxi.

         Instead of protecting the nature in which the information about the suit is shared, the

Defendants propose that the Plaintiffs’ evidence should have included “evidence that other

similarly situated individuals desire to opt in to the litigation because others’ interest in joining the

litigation is relevant to whether or not to put a defendant employer to the expense and effort of

notice to a conditionally certified class of claimants.” Bouaphakeo v. Tyson Foods, Inc., 564 F.

Supp. 2d 870, 892 (N.D. Iowa 2008) (emphasis added) (internal citations, quotation marks, and

alterations omitted). “Simply put, a plaintiff must do more than show the mere existence of other


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similarly situated persons, because there is no guarantee that those persons will actually seek to

join the lawsuit.” Parker v. Rowland Express, Inc., 492 F. Supp. 2d 1159, 1165 (D. Minn. 2007)

relying upon Dybach v. State of Florida Department of Corrections, 942 F.2d 1562, 1567 (11th

Cir.1991)(“a district court "should satisfy itself that there are other employees . . . who desire to

`opt-in'" before conditionally certifying a collective action”). Here, for instance, it is clear that

despite the Plaintiffs having filed this action as a concerted effort, even after they have spoken

with others about the lawsuit without Court control or oversight, no other employees have been

evidenced expressing any interest in joining this case. That lack of evidence of interest should

be determinative to the Plaintiffs’ motion.

       To require the Plaintiffs to merely show that potential plaintiffs exist, rather than requiring

them to show that those potential plaintiffs desire to opt in, would:

       “[R]ender preliminary class certification automatic, as long as the Complaint
       contains the magic words: "Other employees similarly situated." Under this
       rationale, any plaintiff who is denied overtime pay may file suit under [the] FLSA
       and, as long as her complaint is well-pled, receive preliminary class certification
       and send court-approved notice forms to every . . . employee[]. This is, at best, an
       inefficient and over-broad application of the opt-in system, and at worst it places a
       substantial and expensive burden on a defendant. . . . More importantly, automatic
       preliminary class certification is at odds with the Supreme Court's recommendation
       to "ascertain the contours of the [§ 216] action at the outset."

       Parker, supra, at 1165. As the Eastern District of Arkansas and those throughout the 8th

Circuit have found, the Courts, as well as practicing attorneys, have a responsibility to avoid the

“stirring up” of litigation through unwarranted solicitation. Butcher, supra at *3. “Plaintiffs must do

more than speculate that putative opt-in plaintiffs would be interested in joining a collective action.

Without such a requirement, the parties and the Court could waste valuable resources issuing

notice to potential plaintiffs only to find the case cannot proceed as a collective action.” Id.

       Others’ interest in joining the litigation is relevant to whether or not to put a defendant

employer to the expense and effort of notice to a conditionally certified class of claimants. See

Parker, Wheeler, and Butcher, supra (see also Dybach, supra; ,Alvarez v. Sun Commodities, Inc.,

2012 WL 2344577, *2 (S.D. Fla. 2012); Johnson v. VCG Holding Corp., 802 F. Supp.2d 227, 239

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(D. Me. July 25, 2011); McKnight v. D. Houston, Inc., 756 F. Supp. 2d 794, 805 (S.D. Tex. 2010);

Salazar v. Agriprocessors, Inc., 2008 WL 782803 (N.D. Iowa 2008); Saxton v. Title Max of

Alabama, Inc., 431 F. Supp. 2d 1185, 1187 (N.D. Ala. 2006)). These Plaintiffs have plainly failed

to show through admissible evidence this interest or desire exists. Due to that failure, their Motion

should be denied.

   C.       The Plaintiffs Have Not Adequately Shown the Defendants’ Tip Pooling Pay
            Practices to be Unlawful.

        Even though the merits of the Plaintiff’s claims may not be considered at this stage, the

Plaintiffs are still required to meet their burden “by making a modest factual showing sufficient to

demonstrate that they and potential plaintiffs together were victims of a common policy or plan

that violated the law.” (emphasis added), Wheeler at *2 (citations and quotations omitted). While

“the Court does not make findings on legal issues or focus on whether there has been an actual

violation of the law (see In re Pilgrim’s Pride Fair Labor Stds. Act Litig., 2008 U.S. Dist. LEXIS

93966, at *6–9 (W.D. Ark. Mar. 13, 2008) (citing Thiessen v. Gen. Elec. Capital Corp., 267 F.3d

1095, 1106-1107 (10th Cir. 2001)), the question remains whether there is evidence that the

prospective Plaintiffs were victims of a common policy or plan that violated it.

        Here, the Plaintiffs allege, without support or citation, that the Defendants’ 2020 tip pooling

pay practices were unlawful as to all of their servers. The Tip-Pooling practice which they allege

is not unlawful. Rorie’s affidavit states that “18. During this time period, I was informed by Clayton

Suttle that Defendants were retaining tips in order to pay higher wages for all restaurant

employees, including kitchen staff and other non-tipped workers.” See Doc. 27-7 at ¶ 18. Baker’s

affidavit states that “19. During this time period, I was informed by Jeremy Gawthrop and Clayton

Suttle, the owners, that Defendants were keeping tips in order to pay higher wages for all

restaurant employees, including kitchen staff and other non-tipped workers.” See Doc. No. 27-8

at ¶ 19.




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            Despite these statements, tip pooling is permitted when the “tip credit” is not taken so long

as the employer does not receive any of those tips. That practice was permitted by Congress in

2018 when it amended 29 U.S.C. § 203(m)(2) in § 1201 of the Consolidated Appropriations Act,

and overruled the portions of the Department of Labor’s regulations that prohibited employers that

pay tipped employees a direct cash wage of at least the full Federal minimum wage and do not

take a tip credit against their minimum wage obligations from including employees who do not

customarily and regularly receive tips, such as cooks and dishwashers, in mandatory tip pooling

arrangements. See Consolidated Appropriations Act, 2018 (Act), Pub. L. No. 115-141, Div. S.,

Tit.        XII,     §    1201(c);    see     also    FAB      No.     2018-3      (Apr.    6,    2018)

https://www.dol.gov/whd/FieldBulletins/fab2018_3.pdf. (last visited July 2, 2020).

            As part of their affidavits under oath, the Plaintiffs do not allege that the Defendants

received any tips out of any established tip pool, but rather assert that tips were redistributed to

employees. Compare Docs. 27-7, 8 with Doc. 11, Amended Complaint at ¶ 42. That back-track

identifies the lack of evidence the Plaintiffs have that management or ownership kept any tips for

their own pockets. The only evidence before the Court for consideration of the issue of tip pooling

simply does not describe an unlawful practice. As such, the notice should not include any

reference to or allegation of any improper tip-pooling practice

            While the Plaintiffs are correct that at this stage the Court does not resolve contradictory

evidence, here the Plaintiffs offered no evidence to contradict. In short, there is no evidence that

any of the potential opt-in plaintiffs were victims of a common plan or policy that violated the

law (related to tip-pooling). Wheeler, supra at *2. Such information should not be included in any

notice, nor should any collective action be conditionally certified on those grounds.

       D.          Should the Court Conditionally Certify the Class, the Defendants Object to the
                   Forms and Content of the Proposed Notices to Notify Potential Opt-Ins and
                   Seek to Form an Agreed Notice with Plaintiff In Lieu of That Proposed by
                   Plaintiffs.




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        Should this Court Order the servers of the Defendants be conditionally certified as a

collective action, the Defendants understand that each will be notified of their right to opt-in. For

the most part, there is no objection to the notices proposed at ECF Docs. 27-1-2 through 27-3.

However, the Defendants object to the following selected language in the proposed notices.

        From Doc. 27-1 – Proposed Notice of Right to Join Lawsuit:

        (1) Time Sensitive: … “YOU DON’T HAVE TO JOIN THIS CASE, BUT IF YOU DON’T,

YOU WILL NOT RECEIVE ANY MONEY FROM THIS CASE.”

        Comment: There is no guarantee that by participating that any participating plaintiff will

receive anything. This statement acts to encourage participation by taking advantage of the

psychology of FOMO (fear of missing out) and doing so is improper in what should otherwise be

a neutral notice.

        (3) Description of the Lawsuit: “…This case has not been set for trial. If the case is not

settled between the parties, a trial will be held at the United States District Court for the Western

District of Arkansas in Fayetteville.”

        Comment: This case is set for trial during the October 12, 2021 trial term. Further, any

reference to “settlement” should be stricken as it minimizes the magnitude of the endeavor that

each opt-in Plaintiff is taking by joining as a Plaintiff obligated to participate as any other Plaintiff

would in an action he or she filed.

        (6) Effect of Joining this Suit: “…You will not be required to pay attorney’s fees directly…”

and “It is important to understand that you may be entitled to recovery just because you were

employed by Defendants as server at some time since June 17, 2017.”

        Comment: While the Court has held that attorneys’ fees are not costs, to a lay person ,

this reference to attorney’s fees is misleading considering the 8th Circuit’s recent holding in

Lochridge v. Lindsey Mgmt. Co., 824 F.3d 780, 783 (8th Cir. 2016) that a prevailing defendant

may be entitled to the recovery of costs in an FLSA case. It also misrepresents the reality that

the Plaintiff’s counsel may seek fees calculated by the “percentage of the fund” method by which

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attorneys’ fees may be calculated based on a percentage of the recovery of any collective action

class – which if settled inherently lends itself to none of the opt in plaintiffs being made entirely

whole. See e.g. Blume vs. Intn’l Services, Inc. No. 4:12 CV 165 DDN (ED Mo., September 2,

2014). The second quoted sentence simply does not make sense in the context of the notice and

seems contradictory to Paragraph No. 7.

       From Doc. 27-2 – Proposed Consent to Join

       “I was an hourly-paid employee for WSP2, LLC, and/or Joseph Clayton Suttle on

       or after June 17, 2017.”

       Comment: This action is not for all hourly paid employees. It is theoretically for servers,

not all hourly paid employees, and the consent should be constrained to that group.

       From Doc. 27-3 – Proposed Text of Electronic Transmissions

       Comment: While the text of the proposed electronic transmission is generally agreeable

(see below), the Plaintiffs’ claims are not for unpaid overtime.

       The Plaintiffs also recognize the small collective action size such that the need for

electronic notice is not clear. Absent difficult circumstances or unreliable mailing information for

potential opt-ins, email notice simply is not warranted. Should the Plaintiffs come forward after

receiving a significant number of returns or undeliverable mailings, that analysis may change. For

now, though, this effort seems to be overkill for such a small potential class.

       The Defendants also object to the subject line and portions of the body of the proposed

email as drafted by the Plaintiffs. This is not an overtime case. The use of the phrase “unpaid

overtime” in the body of the email is similarly misleading as there has been no finding that the

Plaintiffs suffered any unpaid work, whether minimum wages or overtime. Should email notice

be authorized, it should be revised for clarity as to the state of the proceedings and nothing more.

       From Doc. 27-4 – (SECOND?) Consent to Join Collective Action

       Comment: While this Consent correctly defines the class, it is unclear why the Plaintiffs

have proposed two inconsistent consents (27-2 and 27-4).

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       From Doc. 27-5 – Second Notice of Right to Join Lawsuit

       Comment: Due to the small class size, and anticipating electronic notice has already been

given, this in effect acts as a third notice to each potential plaintiff within 60 days. At some point,

the frequency of such unsolicited notice may be seen as an annoyance. If the Court is inclined

to approve this third notice, perhaps it should require the Plaintiffs’ Counsel to include an

unsubscribe link in its first electronic mail notice so that uninterested Plaintiffs would not be so

bothered by unwanted communication.

                                         III.    CONCLUSION

       The Plaintiffs have not adequately evidenced that the Defendants’ server employees have

any interest in joining this action. Because of that failure, the Motion for Conditional Certification

should be denied. Should the Motion be approved, because there has been no violation of the

law related to tip pooling, that issue should not be addressed in any notices nor should it proceed

further. Nor should there be any notice to any employees of any other entity not named herein

as a party. Finally, the Defendants ask this Court to consider their objections to the proposed

notice language offered by the Plaintiffs as stated above.

       WHEREFORE, Defendants pray this Court Deny the Plaintiffs’ Motion for Conditional

Collective Action Certification and for all other relief to which they may be entitled.


                                       Respectfully Submitted,

                                       WSP2, LLC and Joseph Suttle, Defendants

                                  BY: _/s/George M. Rozzell IV_________________
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                              CERTIFICATE OF SERVICE
       I, George Rozzell, hereby certify that on this 8th day of October 2020, I caused the
foregoing filing to be delivered to each Plaintiff of record through his designated counsel
through the Court’s electronic filing system.


                             BY: _/s/George M. Rozzell IV_________________
                                 George M. Rozzell IV




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